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            8                              UNITED STATES DISTRICT COURT
            9                           NORTHERN DISTRICT OF CALIFORNIA
           10                                   OAKLAND DIVISION
           11    ROBERT ROSS,                              CASE NO. 4:19-CV-06669 (JST)
           12                     Plaintiff,               JOINT CASE MANAGEMENT
                                                           STATEMENT & [PROPOSED] ORDER
           13         v.
                                                           Hearing:
           14    AT&T MOBILITY LLC, ONE TOUCH              Date: January 12, 2021
                 DIRECT, LLC, and ONE TOUCH DIRECT –       Time: 2:00 PM
           15    SAN ANTONIO, LLC,                         Place: Videoconference
                                                           Judge: Judge Jon S. Tigar
           16                     Defendants.
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Gibson, Dunn &
Crutcher LLP

                            JOINT CASE MANAGEMENT STATEMENT – CASE NO. 4:19-CV-06669 (JST)
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            1           Pursuant to Civil Local Rule 16-10 and this Court’s October 23, 2020 Order, Plaintiff Robert
            2    Ross (“Mr. Ross”) and Defendant AT&T Mobility LLC (“AT&T”) hereby submit this Joint Case
            3    Management Statement and Proposed Order. This Joint Case Management Statement identifies
            4    subjects covered by the initial Joint Case Management Statement and Order as to which there are
            5    updates or changes since the updated Joint Case Management Statement and Order filed October 16,
            6    2020. Where the parties have disagreements in their respective submissions below, the fact that any
            7    assertion in either submission is not addressed or refuted by the opposing party does not reflect that
            8    party’s agreement to the assertion at issue.
            9                I. PROGRESS AND CHANGES SINCE LAST STATEMENT WAS FILED
           10    A.      MOTIONS
           11           1.      Changes Since Last Statement Was Filed With Respect To Potential Future
                                Motions
           12
                        AT&T anticipates that it might be required to file an additional motion to dismiss in response
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                 to Mr. Ross’s First Amended Complaint. AT&T also anticipates filing a motion for summary judgment
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                 at an appropriate time. The parties anticipate that they may have to file discovery motions if the meet
           15
                 and confer process does not resolve discovery disputes.
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                 B.          AMENDMENT OF PLEADINGS
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                        On December 21, 2020, Mr. Ross amended the Complaint adding One Touch Direct, LLC and
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                 One Touch Direct – San Antonio, LLC as Defendants, as well as an additional claim for fraudulent
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                 concealment and additional grounds for punitive damages on December 21, 2020. Dkt. 71. Mr. Ross
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                 also filed a first and second Errata thereto on December 21 and 22, 2020 respectively. Dkt. 74, 75. On
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                 January 4, 2021, the Court granted the parties’ joint stipulation to extend the time for AT&T to respond
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                 to Mr. Ross’s First Amended Complaint from January 5 to January 12, 2021.
           23
                        Pursuant to agreement of the parties, the deadline for One Touch Direct, LLC and One Touch
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                 Direct – San Antonio, LLC to respond to the First Amended Complaint is January 25, 2021.
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                 C.      DISCOVERY AND DISCLOSURES
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                        The parties have entered into a stipulated e-discovery order, Dkt. 50, and the Court has entered
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                 a protective order, Dkt. 57. Each party has served its initial disclosures pursuant to Fed. R. Civ. P.
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                                 JOINT CASE MANAGEMENT STATEMENT – CASE NO. 4:19-CV-06669 (JST)
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            1    26(a). Mr. Ross served his first set of requests for production and interrogatories on September 28,
            2    2020, and AT&T served its responses and objections on October 28, 2020. Further, AT&T served
            3    productions in response to these discovery requests on November 20, 2020 and December 23, 2020.
            4    Likewise, AT&T served its first set of requests for production and interrogatories on October 5, 2020,
            5    and Mr. Ross served his responses and objections to on November 12, 2020. Mr. Ross served his first
            6    production in response to these discovery requests on December 30, 2020.
            7           The parties continue to engage in the meet and confer process with respect to their respective
            8    responses to written discovery.
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Crutcher LLP                                                       3
                                JOINT CASE MANAGEMENT STATEMENT – CASE NO. 4:19-CV-06669 (JST)
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            1    Dated: January 5, 2021                 MARCELLUS MCRAE
                                                        ASHLEY E. JOHNSON
            2                                           GIBSON, DUNN & CRUTCHER LLP
            3
                                                        By: /s/ Ashley E. Johnson
            4                                           Marcellus McRae
                                                        Ashley E. Johnson
            5
                                                        MARCELLUS MCRAE, SBN 140308
            6                                             mmcrae@gibsondunn.com
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                                                        ASHLEY E. JOHNSON, admitted pro hac vice
           10                                            ajohnson@gibsondunn.com
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           12                                           Telephone: 214.698.3100
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           13
                                                        Attorneys for Defendant AT&T MOBILITY LLC
           14

           15
                 Dated: January 5, 2021                 Christopher Grivakes
           16                                           AFFELD GRIVAKES LLP

           17                                           By: /s/ Christopher Grivakes
                                                        Christopher Grivakes
           18                                           Damion Robinson
           19                                           CHRISTOPHER GRIVAKES
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           20                                           DAMION ROBINSON
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           21                                           AFFELD GRIVAKES LLP
                                                        2049 Century Park East, Suite 2460
           22                                           Los Angeles, CA 90067
                                                        Telephone: 310.979.8700
           23                                           Facsimile: 310.979.8701
           24                                           Attorney for Plaintiff ROBERT ROSS
           25

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Crutcher LLP                                                 4
                               JOINT CASE MANAGEMENT STATEMENT – CASE NO. 4:19-CV-06669 (JST)
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            1                                         FILER’S ATTESTATION
            2           Pursuant to Civil Local Rule 5-1(i)(3), Ashley E. Johnson hereby attests that concurrence in
            3    the filing of this document has been obtained from all the signatories above.
            4

            5    Dated: January 5, 2021                       /s/ Ashley E. Johnson
                                                              Ashley E. Johnson
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Crutcher LLP                                                       5
                                JOINT CASE MANAGEMENT STATEMENT – CASE NO. 4:19-CV-06669 (JST)
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            1                             [PROPOSED] CASE MANAGEMENT ORDER
            2           The above JOINT CASE MANAGEMENT STATEMENT is approved as the Case

            3    Management Order for this case and all parties shall comply with its provisions.

            4

            5    IT IS SO ORDERED.

            6
                  Dated: ________________, 2021
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                                                                         HON. JON S. TIGAR
           11
                                                                   UNITED STATES DISTRICT JUDGE
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Gibson, Dunn &
Crutcher LLP                                                      6
                                JOINT CASE MANAGEMENT STATEMENT – CASE NO. 4:19-CV-06669 (JST)
